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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


Nautilus Insurance Company,         )
                                    )
             Plaintiff,             )                  C.A. No. 2:22-1307-RMG
                                    )
             vs.                    )
                                    )
Richard Alexander Murdaugh, et al., )
                                    )                  ORDER
             Defendants.            )
                                    )
____________________________________)

       This matter comes before the Court on a motion to quash a subpoena issued by a federal

grand jury. (Dkt. No. 9). Plaintiff, an insurance carrier, indicates that it wishes to comply with

the grand jury subpoena but one of its insureds, Defendant Richard Alexander Murdaugh, has

asserted that the material is subject to his attorney-client privilege. Prior to filing the present

motion to quash, Plaintiff requested in its complaint that the Court enter a declaratory judgment

pursuant to Rule 57 of the Federal Rules of Civil Procedure and 28 U.S.C. § 2201 regarding its

obligation to comply with the subpoena. (Dkt. No. 8 at 7-8).

       A motion to quash a federal grand jury subpoena should be made pursuant to Rule 17(c)

of the Federal Rules of Criminal Procedure and to the court supervising the grand jury. A party

may move to quash a subpoena “if compliance would be unreasonable or oppressive.” (Id.;

United States v. R. Enterprises, Inc., 498 U.S. 292, 300 (1991). The motion should be captioned

“In Re Grand Jury Subpoena” and include the subpoena number. This civil action is not an

appropriate vehicle to move to quash a federal grand jury subpoena. Consequently, Plaintiff’s

motion to quash the federal grand jury subpoena (Dkt. No. 9) is denied without prejudice.


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       AND IT IS SO ORDERED.

                                               s/ Richard Mark Gergel
                                               Richard Mark Gergel
                                               United States District Judge


May 12, 2022
Charleston, South Carolina




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